
Per Curiam.
One question in this case was, how the executor should be compelled to pay an annuity of fifty dollars given to an annuitant for life.. The court ordered so much principal to be retained, as at the rate * of six per cent, per annum would produce that sum, and the executor to give security for returning the principal, thus retained, to the general legatees at the death of the annuitant.
0 Another question was, as the lands of the devisor were ordered by the will to be sold by the executors, there being two, and the money, to be divided amongst his legatees, and one of the executors having sold on reasonable credit and for as much as could be gotten, and the other executor refusing to join, how the sale was to be effected. And the court ordered the refusing executor to join in the *12deed to the purchaser within six months if the purchase money be paid, or otherwise, within three months after it shall be paid.
See, as to annuities, William’s case, 3 Bland. (Md.), 86; King’s Digest, 611, 6708, 11,844.
